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UNITED STATES OF AMERICA
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

 

UNITED STATES OF AMERICA, -
Plaintiff,

v. Civil Action No. 2:08-CY-

ACADEMY COLLECTION SERVICE, INC., a
Pennsylvania Corporation,

KEITH DICKSTEIN, Individually, and as an
Officer of Academy Collection Service, Inc.,

ALBERT 8S. BASTIAN, Individually, and as an
Officer of Academy Collection Service, Inc.,

and

EDWARD L. HURT II, Individually, and as an
Officer of Academy Collection Service, Inc.,

Defendants.

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COMPLAINT FOR CIVIL PENALTIES,
INJUNCTIVE RELIEF, AND OTHER RELIEF
Plaintiff, the United States of America, acting upon notification and authorization to the
Attorney General by the Federal Trade Commission (“Commission”), by its undersigned
attorneys, for its Complaint alleges as follows:
| JURISDICTION AND VENUE
1. This is an action arising under §§ 5(a)}, 5(m)(1)(A), 13(b), and 16(a) of the Federal
Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b), and 56(a), and the
Fair Debt Collection Practices Act (““FDCPA”), 15 U.S.C. § 1692 et seq., to obtain monetary
civil penalties, a permanent injunction, restitution, disgorgement, and other equitable relief for
Defendants’ violations of the FDCPA and Section 5 of the FTC Act.
2. This Court has jurisdiction over this matter under 28 U.S.C. §§ 1331, 1337(a),
1345, and 1355, and under 15 U.S.C. §§ 45(m)(1)(A), 53(b), 57b, and 1692/, This action arises
under 15 U.S.C. § 45(a)(1) and 15 U.S.C. § 16921.
3. Venue is proper in the United States District Court for the District of Nevada
“under 28 U.S.C. §§ 1391(b-c) and 1395(a) and 15 U.S.C. § 53(b).
DEFENDANTS
4, Defendant Academy Collection Service, Inc. (“Academy” or “Company”), is a
Pennsylvania corporation with its principal place of business located at 10965 Decatur Road,
Philadelphia, PA 19154. One of Defendant Academy’s three main collection offices is located
within the District of Nevada at 750 Pilot Road, Suite A, Las Vegas, NV 89119. At all times

relevant to this Complaint, Defendant Academy has transacted business in the District of Nevada.

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5. Defendant Keith Dickstein (“Dickstein”) is Academy’s President, former Chief
Executive Officer, Treasurer, sole shareholder, and sole director. Defendant Dickstein played an
active role in the management and/or supervision of Academy’s debt collection activities.
Defendant Dickstein formulated, directed, participated in, controlled, or had the authority to
control, the acts and practices of Academy, including the acts and practices alleged in this
Complaint. Defendant Dickstein knew or should have known of the violations described in this
Complaint. At all times relevant to this Complaint, Defendant Dickstein has transacted business
in the District of Nevada. He currently resides in the District of Nevada.

6. Defendant Albert 8. Bastian (“Bastian”) was an Assistant Vice President of
Academy and was one of the main officers in charge of Academy’s collection operations in its
Las Vegas, Nevada office at all times relevant to this Complaint. Defendant Bastian played an
active role in the management and/or supervision of Academy’s debt collection activities.
Defendant Bastian formulated, directed, participated in, controlled, or had the authority to
control, the acts and practices of Academy, including the acts and practices alleged in this
Complaint. Defendant Bastian knew or should have known of the violations described in this
Complaint. At ail times relevant to this Complaint, Defendant Bastian transacted business in and
resided in the District of Nevada.

| 7. Defendant Edward L. Hurt II (“Hurt”) was a Vice President of Academy and was
one of the main officers in charge of Academy’s collection operations in its Las Vegas, Nevada
office at all times relevant to this Complaint. Defendant Hurt played an active role in the
management and/or supervision of Academy’s debt collection activities. Defendant Hurt

formulated, directed, participated in, controlled, or had the authority to control, the acts and

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practices of Academy, including the acts and practices alleged in this Complaint. Defendant Hurt
knew or should have known of the violations described in this Complaint. At all times relevant
to this Complaint, Defendant Hurt transacted business in and resided in the District of Nevada.

8. Defendants Academy, Dickstein, Bastian, and Hurt (“Defendants”) are “debt
collectors” as defined in Section 803(6) of the FDCPA, 15 U.S.C. § 1692a(6).

COMMERCE

9. At all times material to this Complaint, Defendants have maintained a substantial
course of trade in the collection of debts, in or affecting commerce, as “commerce” is defined in
Section 4 of the FTC Act, 15 U.S.C. § 44.

DEFENDANTS’ BUSINESS PRACTICES

10. From its offices in Philadelphia, Pennsylvania and Las Vegas, Nevada, Academy
has.engaged in consumer debt collection activities in all 50 states, Academy has collected on
over 1,000,000 consumer debt accounts a year.

11. On numerous occasions, Academy collectors threatened or implied that Academy
would garnish consumers’ wages, seize or attach consumers’ property, or initiate lawsuits against
them if they failed to pay Academy. Academy collectors also made additional threats, including
that criminal actions wouid be taken against consumers or that consumers would be arrested.

12. In truth and in fact, on numerous occasions, when Academy collectors made the
threats contained in Paragraph 11 above, Academy had no legal authority or intent to garnish
consumers’ wages, seize or attach consumers’ property, initiate lawsuits against consumers if

they failed to pay Academy, or have consumers prosecuted or arrested.

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13, On numerous occasions, Academy collectors withdrew amounts from consumers’
bank accounts without obtaining the consumers’ prior authorization or consent for such
withdrawals. Academy collectors also deposited or threatened to deposit postdated checks prior
to the date on such checks.

14. On numerous occasions, Academy collectors cailed consumers at their place of
employment even though the collectors knew or had reason to know that the consumer’s
employer prohibited the consumer from receiving such communications. Academy collectors
also, on numerous occasions, disclosed the existence of debts to third parties, such as the
consumers’ parents, children, employers, co-workers, and neighbors. Academy collectors also
continued to contact third parties, even after third parties told them not to call.

15. | Academy collectors also called consumers at times and places they knew were
inconvenient for consumers to receive calls.

16. Onnumerous occasions, Academy collectors used harassing and abusive tactics.
Academy collectors threatened consumers with violence. Academy collectors also called
consumers multiple times a day, including calling consumers right back after being hung up on
by the consumers. In addition, numerous Academy collectors used abusive language, including
profanity when speaking with consumers.

17. Onnumerous occasions, Academy collectors failed to state in the initial
communication with the consumer and in subsequent communications that they were attempting
to collect a debt and that any information would be used for that purpose.

18. | Academy’s collection practices have generated over a thousand complaints filed

with the Federal Trade Commission, the Nevada and Pennsylvania Better Business Bureaus,

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various state attorneys general, and the Company itself. Many of these complaints have alleged
significant FTC Act and/or FDCPA violations.

19. Academy’s response to the consumer complaints it receives has been cavalier at
best. Academy has frequently dismissed without sufficient investigation complaints alleging
egregious violations of the FTC Act and/or the FDCPA that were forwarded to Academy by state
attorneys general and Better Business Bureaus, Even in the face of substantial evidence that
violations occurred, the Defendants frequently allowed the collectors involved to go unpunished
or merely to receive a warning.

20.  Academy’s internal compliance program sometimes caught collectors violating

| the FTC Act and/or the FDCPA. However, the Defendants allowed employees with multiple
egregious violations to go frequently without serious punishment.

21. | Even when Academy terminated collectors for FDCPA violations, the Defendants
allowed these collectors to return to Academy within a few weeks or months of their termination.

22. On numerous occasions, Academy’s front-line supervisors and senior managers,
especially Bastian and Hurt, participated in the actions described in Paragraphs 11 through 17,
above, These supervisors or managers, especially Bastian and Hurt, also encouraged collectors
to participate in such violations. On other occasions, Academy managers, including the
individual Defendants, were aware of such practices by collectors under their supervision, but
failed to discipline the collectors sufficiently.

23. The individual Defendants also either ignored the Company’s violative acts and
practices, or they failed to exercise the supervision necessary to make themselves aware of the

significant problems occurring within their organization.

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VIOLATIONS OF SECTION 5 OF THE FTC ACT
24, Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts
or practices in or affecting commerce.” Misrepresentations of material fact constitute deceptive
acts or practices prohibited by the FTC Act.
COUNTI
25. On numerous occasions, in connection with the collection of debts, Defendants,
directly or indirectly, represented to consumers, expressly or by implication, that:
a) Nonpayment of a debt would result in garnishment of a consumer’s wages;
b) —_ Nonpayment of a debt would result in a consumer’s property being seized
or attached or result in a consumer’s arrest;
c) The individuals who acted as agents or otherwise on behalf of the
Defendants and who contacted consumers were attorneys, or that a
communication from the Defendants, their agents, on others who acted on

their behalf was from an attorney; and

:)) Academy or the creditor it represented intended to take legal action against
a consumer.
26. In truth and in fact, on numerous such occasions:
a) Nonpayment of a debt did not resuit in garnishment of a consumer’s
wages;

b) Nonpayment of a debt did not result in a consumer’s property being seized

or attached or result in a consumer’s arrest;

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Cc) The individuals who acted as agents or otherwise on behalf of the
Defendants and who contacted consumers were not attorneys, and
communications from Defendants, their agents, or others who acted on
their behalf were not from attorneys; and

d) Academy or the creditor it represents did not intend to take legal action
against a consumer.

27. Therefore, the representations set forth in Paragraph 25 were and are false or
misleading and constitute deceptive acts or practices in violation of Section 5(a) of the FTC Act,
15 US.C, § 45(a).

COUNT II

28. On numerous occasions, in connection with the collection of debts, Defendants
withdrew amounts from consumers’ bank accounts without obtaining the consumers’ express
informed consent for such withdrawals.

29. Defendants’ practice of withdrawing funds from consumers’ bank accounts
without obtaining the consumers’ express informed consent caused or was likely to have caused
substantial injury to consumers that was not outweighed by countervailing benefits to consumers
or competition, and that was not reasonably avoidable by consumers.

30. Therefore, Defendants’ practice as alleged in Paragraph 28 was unfair and in
violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
31. In 1977, Congress passed the FDCPA, 15 U.S.C. §1692 ef seg., which became

effective on March 20, 1978, and has been in force since that date. Section 814 of the FDCPA,

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15 U.S.C. § 1692I, specifically empowers the Commission to enforce the FOCPA. Under its
provisions, for purpose of the exercise by the Commission of its functions and powers under the
FTC Act, a violation of the FDCPA is deemed an unfair or deceptive act or practice in violation
of the FTC Act. Further, the Commission is authorized to use all of its functions and powers
under the FTC Act to enforce compliance with the FDCPA by any person, irrespective of
whether that person is engaged in commerce or meets any other jurisdictional tests set by the
FTC Act. The authority of the Commission in this regard includes the power to enforce the
provisions of the FDCPA in the same manner as if the violations of the FDCPA were violations
of a Federal Trade Commission trade regulation rule.

32. The term “consumer,” as used in this Complaint, means any natural person
obligated or allegedly obligated to pay any debt, as “debt” is defined in Section 803(5) of the
FDCPA, 15 U.S.C, § 1692a(5).

COUNT III
33. On numerous occasions, in connection with the collection of debts, Defendants,
| directly or indirectly, used unfair or unconscionable means to collect or attempt to collect debts,
in violation of Section 808 of the FDCPA, 15 U.S.C. § 1692f, including, but not limited to, the
following:
a} Defendants, directly or indirectly, used consumers’ information to
withdraw funds from consumers’ bank accounts without obtaining the
consumers’ express informed consent, in violation of Section 808 of the

FDCPA, 15 U.S.C. § 1692f; and

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b) Defendants, directly or indirectly, deposited or threatened to deposit
postdated checks or other postdated payment instruments prior to the date
on such checks or instruments, in violation of Section 808(4) of the
FDCPA, 15 U.S.C. § 1692f (4).

COUNT IV
34, On numerous occasions, in connection with the collection of debts, Defendants,
directly or indirectly, communicated with third parties, including parents, children, neighbors,
employers, and co-workers, for purposes other than acquiring location information about a
consumer, without the prior consent of the consumer given directly to the debt collector or the
express permission of a court of competent jurisdiction, and when not reasonably necessary to
effectuate a post-judgment judicial remedy, in violation of Section 805(b) of the FDCPA, 15
U.S.C. § 1692c(b).
COUNT V
35, On numerous occasions, in connection with the collection of debts, Defendants,
directly or indirectly, when communicating with persons other than the consumer for the alleged
purpose of acquiring location information about the consumer, violated Section 804 of the
FDCPA, 15 U.S.C. § 1692b, including, but not limited to, the following:

a) | Stated that the consumer owed a debt, in violation of Section 804(2) of the
FDCPA, 15 U.S.C. § 1692b(2); and

b) Communicated with third parties more than once, when not requested to
do so by such person and when the Defendants had no reasonable belief

that the earlier response of such person was erroneous or incomplete and

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that the person had correct or complete location information to provide, in
violation of Section 804(3) of the FDCPA, 15 U.S.C. § 1692b(3).

COUNT VI

36. On numerous occasions, in connection with the collection of debts, Defendants,

directly or indirectly, used false, deceptive, or misleading representations or means, in violation

of Section 807 of the FDCPA, 15 U.S.C. § 1692e, including, but not limited to, the following:

a)

b)

Defendants, directly or indirectly, falsely represented or implied to
consumers that individuals who acted as agents or otherwise on behalf of
the Defendants were attorneys or that any communication from the
Defendants, their agents, or anyone who acted on their behalf was from an
attorney, in violation of Section 807(3) of the FDCPA, 15 U.S.C.

§ 1692¢e(3);

Defendants, directly or indirectly, falsely represented or implied that
nonpayment of a debt would result in the arrest or imprisonment of a
person or the seizure, garnishment, or attachment of a person’s property or
wages, when such action was not lawful or when neither Academy nor the
creditor had the intention of taking such action, in violation of Section
807(4) of the FDCPA, 15 U.S.C. § 1692e(4);

Defendants, directly or indirectly, threatened to take actions that could not
legally be taken or that were not intended to be taken, in violation of

Section 807(5) of the FDCPA, 15 U.S.C. § 1692e(5);

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d)

Defendants, directly or indirectly, used false representations or deceptive
means to collect or attempt to collect debts or to obtain information
concerning a consumer, in violation of Section 807(10) of the FDCPA,
15 U.S.C. § 1692e(10); and

Defendants, directly or indirectly, failed to disclose in the initial oral
communication with the consumer that the debt collector was attempting
to collect a debt and that any information would be used for that purpose,
and failed to disclose in subsequent communications that the
communication was from a debt collector (when such communications
were not formal pleadings made in connection with a legal action), in
violation of Section 807(11) of the FDCPA, 15 U.S.C. § 1692e(11).

COUNT VII

37, On numerous occasions, in connection with the collection of debts, without the

prior consent of the consumer given directly to the debt collector or the express permission of a
court of competent jurisdiction, Defendants, directly or indirectly, communicated with a
consumer at the consumer’s place of employment when the Defendants knew, directly or
indirectly, that the consumer’s employer prohibited the consumer from receiving such

communication, in violation of Section 805(a)(3) of the FDCPA, 15 U.S.C. § 1692c(a)(3).

COUNT VIII

38. On numerous occasions, in connection with the collection of debts, without the

prior consent of the consumer given directly to the debt collector or the express permission of a

court of competent jurisdiction, Defendants, directly or indirectly, communicated with a

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consumer at a time or place that Defendants knew or should have known was inconvenient to the
- consumer, including, but not limited to, (a) communicating with the consumer before 8 a.m. and
after 9 p.m. at the consumer’s location, and (b) communicating with the consumer at the
consumer’s place of employment when Defendants knew or should have known that it was
inconvenient for the consumer to receive such communications, in violation of Section 805(a)(1)
of the FDCPA, 15 U.S.C. § 1692c(a)(1).
COUNT IX
39. On numerous occasions, in connection with the collection of debts, Defendants,
directly or indirectly, engaged in conduct the natural consequence of which was to harass,
oppress, or abuse a person, in violation of Section 806 of the FDCPA, 15 U.S.C. § 1692d,
including, but not limited to, the following:
a) Defendants, directly or indirectly, used or threatened the use of
violence or other criminal means to harm the physica! person,
reputation, or property of a person, in violation of Section 806(1)
of the FDCPA, 15 U.S.C. § 1692d(1);
b) Defendants, directly or indirectly, used obscene or profane
language, or language the natural consequence of which was to
abuse the hearer, in violation of Section 806(2) of the FDCPA,
15 U.S.C. § 1692d(2); and
c) Defendants, directly or indirectly, caused a telephone to ring, or engaged a

person in telephone conversations, repeatedly or continuously, with the

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intent to annoy, abuse, or harass the person at the called number, in
violation of Section 806(5) of the FDCPA, 15 U.S.C. § 1692d(5).
INJUNCTION FOR VIOLATIONS OF THE FTC ACT AND THE FDCPA
40. Under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), this Court is authorized to
issue a permanent injunction to ensure that Defendants will not continue to violate the FTC Act

and the FDCPA.

EQUITABLE RELIEF FOR VIOLATIONS OF THE FTC ACT AND THE FDCPA

41, Under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), this Court is authorized to
issue all equitable and ancillary relief as it may deem appropriate in the enforcement of the FTC
Act and the FDCPA, including the ability to order rescission or reformation of contracts,
restitution, the refund of monies paid, and disgorgement to deprive a wrongdoer of ill-gotten
gain.

CIVIL PENALTIES FOR VIOLATIONS OF THE FDCPA

42. Defendants Academy, Dickstein, Bastian, and Hurt violated the FDCPA as
described above, with actual knowledge or knowledge fairly implied on the basis of objective
circumstances, as set forth in Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45¢m)(1)(A).

43. Each instance within five years preceding the filing of this Complaint, in which
Defendants failed to comply with the FDCPA in one or more of the ways described above,
constitutes a separate violation for which Plaintiff seeks monetary civil penalties.

44, — Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1){A), as modified by

Section 4 of the Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C. § 2461, as

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amended, and as implemented by 16 C-F.R. § 1.98(d) (2007), authorizes the Court to award

monetary civil penalties of not more than $11,000 for each violation of the FDCPA.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff United States of America, pursuant to 15 U.S.C.

-§§ 45(m)(1)(A), 53(b), 16927, and the Court’s own equitable powers, requests that the Court:

1,

Enter judgment against Defendants and in favor of Plaintiff for each law violation
alleged in this Complaint;

Enter a permanent injunction to prevent future violations of the FTC Act and the
FDCPA by Defendants;

Award such relief as the Court finds necessary to redress injury to consumers

| resulting from Defendants’ violations of the FTC Act and the FDCPA, including

but not limited to, rescission or reformation of contracts, restitution, the refund of
monies paid, and the disgorgement of ill-gotten monies;

Award Plaintiff monetary civil penalties for each violation of the FOCPA
occurring within five (5) years preceding the filing of this Complaint; and

Award Plaintiff the costs of bringing this action, as well as such other and

additional relief as the Court may determine to be just and proper.

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